Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 1 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 2 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 3 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 4 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 5 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 6 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 7 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 8 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document      Page 9 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 10 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 11 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 12 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 13 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 14 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 15 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 16 of 17
Case 20-20224-jrs   Doc 43   Filed 06/11/20 Entered 06/11/20 18:36:47   Desc Main
                             Document     Page 17 of 17
